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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS



 Simmons Bedding Company, LLC,
 Serta Simmons Bedding, LLC,

                    Plaintiffs                            Civil Case No. 1:17-cv-6768

         v.

 Bob’s Discount Furniture, LLC,
                                                          TRIAL BY JURY DEMANDED
                    Defendant.



                                          COMPLAINT

       Simmons Bedding Company, LLC (“Simmons”) and Serta Simmons Bedding, LLC

(“SSB”), for their complaint against Defendant Bob’s Discount Furniture, LLC (“Bob’s”), allege

as follows:

                                   NATURE OF THE ACTION

       1.      This is an action for false advertising and unfair business practices in violation of

federal and Illinois law.

                                         THE PARTIES

       2.      Plaintiff SSB is a Delaware limited liability company with its principal place of

business in Atlanta, Georgia.

       3.      Plaintiff Simmons is a Delaware limited liability company with its principal place

of business in Atlanta, Georgia.

       4.      Upon information and belief, Defendant Bob’s is a Connecticut limited liability

company with its principal place of business in Manchester, Connecticut.


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                                 JURISDICTION AND VENUE

          5.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

the complaint involves a federal question under Section 43(a)(1)(B) of the Lanham Act,

15 U.S.C. § 1125(a)(1)(B). This Court also has supplemental jurisdiction over the state law

claims.

          6.   This Court has personal jurisdiction over Bob’s because Bob’s continuously and

systematically transacts business in Illinois, including and through its website,

www.mybobs.com, and its stores in Aurora, Burbank, Calumet City, Chicago, Joliet, Orland

Park, Schaumburg, Skokie, Vernon Hills, and Villa Park. Also, upon information and belief,

Bob’s offers to sell its Black Label Gel Euro-Top Mattress to customers in Illinois, and its

commercials giving rise to claims in this Complaint are available in Illinois on local television

stations, through Bob’s website, www.mybobs.com/, and YouTube,

https://www.youtube.com/watch?v=ntddcqPu-Zg.

          7.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391, as Simmons and SSB

maintain a significant presence in the district, including the headquarters of Serta, Inc. (“Serta”),

an SSB majority owned company, and the events giving rise to the claims are causing harm to

Simmons and SSB in this district.

                                              FACTS

          8.   Paragraphs 1-7 are incorporated by reference as if set forth here in full.

          9.   For over one hundred years, Simmons has been a leading mattress manufacturer

and an innovator of mattress technologies. For example, Simmons developed its Pocketed Coil®

spring machine in the early 1900s and was the first mattress company to offer king and queen

sized mattresses in the United States. In 2008, Simmons raced ahead of its industry and invented

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a hybrid fusion of memory foam and Pocketed Coil® springs. To date, as a result of its

extensive efforts and innovation, Simmons has obtained well over 100 U.S. patents.

       10.     Simmons’ Beautyrest® line of mattresses and, in particular, its Beautyrest

Black® mattresses, exemplify Simmons’ tradition of innovation. Simmons Beautyrest Black®

mattresses include proprietary Micro Diamond™ Memory Foam, Simmons’ patented Advanced

Pocketed Coil™ Technology, and luxurious fabrics.

       11.     Simmons’ Beautyrest Black® mattresses are sold at prices between $1,999 and

$4,999.

       12.     Bob’s advertises and sells a mattress called “Black Label Gel Euro-Top

Mattress,” in stores and on its website, https://www.mybobs.com/.

       13.     Upon information and belief, Bob’s sells the queen sized Black Label Gel Euro-

Top Mattress for $999.

       14.     Attached hereto as Exhibit A is a true and correct printed copy of the Black Label

Gel Euro-Top Mattress web page on Bob’s website, available at https://www.mybobs.com/black-

label-gel-mattress-set (last visited September 6, 2017).

       15.     Upon information and belief, Bob’s Black Label Gel Euro-Top Mattress includes

an encased coil innerspring support system, gel infused memory foam, and a stretch knit cover.

       16.     Upon information and belief, Bob’s Black Label Gel Euro-Top Mattress does not

employ any of Simmons’ proprietary Micro Diamond™ Memory Foam, Simmons’ patented

Advanced Pocketed Coil™ Technology, or the luxurious fabrics used in Simmons’ Beautyrest

Black® mattress.

       17.     In the past, Bob’s has been forced to cease dissemination of false and misleading

commercials about its mattresses. In 2013, Serta, Simmons’ sister company, wrote Bob’s and

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demanded that it discontinue TV commercials that falsely claimed Bob’s mattresses contained

“twice the gel-infused memory foam at half the price” of Serta’s mattress. Attached hereto as

Exhibit B is a true and correct copy of the cease and desist letter sent by Serta to Bob’s.

       18.     Shortly thereafter, Bob’s responded in writing to Serta that “we have taken the ad

off the air and it will not run again.” Attached hereto as Exhibit C is a true and correct copy of

the letter sent by Bob’s to Serta.

                            Bob’s False and Misleading Comparisons

       19.     Recently, Bob’s ran a television advertisement and posted a commercial on its

website comparing Simmons’ Beautyrest Black® Mattress to Bob’s Black Label Gel Euro-Top

Mattress, which falsely and misleadingly imply that both mattresses use the same materials and

components.

       20.     The commercial is retrievable at https://www.mybobs.com/black-label-gel-

mattress-set and https://www.mybobs.com/videos (last visited September 6, 2017). Below is a

screenshot of the commercial showing Simmons’ Beautyrest Black® mattress (“Simmons’

Mattress”) side-by-side with Bob’s Black Label Gel Euro-Top Mattress (“Bob’s Mattress”):




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       21.     While showing the mattresses side-by-side, the commercial compares the Black

Label Gel Euro-Top queen mattress set by Bob’s Discount Furniture and the Simmons’

Beautyrest Black Mariela queen mattress set.

       22.     Then, even though Bob’s Mattress and Simmons’ Mattress use different foams

and coils, the commercial shows the image below of one type of innerspring coil, one type of

latex foam, and one type of memory foam and represents that “Both have comfy gel-infused

memory foams, supportive latex foam, individually wrapped innerspring coils, and luxurious

stretched thin fabric.”




       23.     The video then concludes by stating “So, besides the fancy logo, what’s another

big difference? Well, theirs is priced at a whopping $2799, while ours is priced at only $999.

Plus, you get the satisfaction of knowing you didn’t just spend $1800 on a fancy logo.”

       24.     Such statements and imagery deceive or are likely to deceive customers about the

true nature, characteristics, and quality of its Mattress and Simmons’ Mattress, namely by

implying that Bob’s Mattress and Simmons’ Mattress contain the same components and/or

materials depicted in the commercial when, in fact, they do not.



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           25.   Accordingly, on May 16, 2017, Simmons’ counsel sent Bob’s a cease and desist

letter, demanding that Bob remove its commercial unless it can substantiate the claims in the

commercial. Attached hereto as Exhibit D is a true and correct copy of the cease and desist

letter.

           26.   On June 1, 2017, counsel for Bob’s responded to the cease and desist letter, but

did not indicate that it would remove its commercial in its entirety. Attached hereto as Exhibit E

is a true and correct copy of Bob’s responsive letter.

           27.   Then, despite being warned of the deceptive nature of its comparative advertising,

on June 14, 2017, Bob’s published another commercial comparing Bob’s Mattress to Simmons’

Mattress. That commercial was distributed on local television and published on YouTube and is

available at https://www.youtube.com/watch?v=ntddcqPu-Zg (last visited September 6, 2017).

           28.   Like the commercial on Bob’s website, the commercial begins by showing

Simmons’ and Bob’s mattresses side-by-side while comparing the Black Label Gel Euro-Top

queen mattress set by Bob’s Discount Furniture and the Simmons’ Beautyrest Black Mariela

queen set.

           29.   The commercial then shows the image below, which appears to be the tops of the

respective mattresses, and states “Both have comfy gel-infused memory foams, supportive latex

foam, individually wrapped innerspring coils, and luxurious stretched thin fabric.”




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       30.     The commercial concludes by stating “Sure, they’re not exactly the same, but you

be the judge. Theirs is priced at a whopping $2799, while ours is priced at only $999. Dare to

compare at Bob’s Discount furniture, in store or at mybobs.com.”

       31.     Again, such statements and imagery deceive or are likely to deceive customers

about the true nature, characteristics, and quality of Bob’s Mattress and Simmons’ Mattress,

namely by implying that Bob’s Mattress and Simmons’ Mattress contain the same components

and/or materials when, in fact, they do not.

       32.     Despite the commercials’ implications, Bob’s Black Label Gel Euro-Top Mattress

does not employ any of Simmons’ proprietary Micro Diamond™ Memory Foam, Simmons’

patented Advanced Pocketed Coil™ Technology, or the luxurious fabrics used in Simmons’

Beautyrest Black® mattress.

                                               COUNT I

               False Advertising and Unfair Competition under Section 43(a)
                          of the Lanham Act, 15 US.C. § 1125(a)

       33.     Simmons and SSB re-allege and incorporate by reference paragraphs 1-32 of this

Complaint.
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          34.   Bob’s has made false and misleading statements in commercial advertisements

regarding both Bob’s Mattress and Simmons’ Mattress.

          35.   Bob’s statements are literally false and/or likely to deceive customers about the

true nature, characteristics, and quality of Bob’s Mattress and Simmons’ Mattress.

          36.   Both Bob’s Mattress and Simmons’ Mattress are offered, advertised, and sold to

consumers throughout the United States. Accordingly, Bob’s false and deceptive statements

affect interstate commerce.

          37.   Bob’s false and misleading statements are material because they concern aspects

of Bob’s Mattress and Simmons’ Mattress that affect their comfort, quality, and pricing. Such

claims are likely to influence consumers’ purchasing decisions.

          38.   Bob’s has willfully engaged in the false advertising and unfair competition

complained of herein.

          39.   Simmons has been, is now, and will continue to be irreparably harmed by Bob’s

false advertising and unfair competition because Bob’s deceptive commercials remain widely

available online.

          40.   Unless enjoined by this Court, Simmons will suffer harm to its name, business,

reputation, and goodwill. This harm constitutes an injury for which there is no adequate remedy

at law.

          41.   As a direct and proximate result of Bob’s conduct, Simmons has and continues to

incur actual damages.




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                                             COUNT II

    Deceptive Trade Practices under 815 ILCS 505/1 et seq. and 815 ILCS 510/1 et seq.


       42.     Simmons and SSB re-allege and incorporate by reference paragraphs 1-41 of this

Complaint.

       43.     Bob’s has made false and misleading statements in commercial advertisements

regarding both Bob’s Mattress and Simmons’ Mattress.

       44.     Bob’s statements are literally false and/or likely to deceive customers in Illinois

about the true nature, characteristics, and quality of Bob’s Mattress and Simmons’ Mattress.

       45.     Upon information and belief, Bob’s intended that Illinois consumers rely the

deceptive statements so that the Illinois consumers purchase Bob’s Mattress instead of Simmons’

Mattress.

       46.     Bob’s commercials are trade practices directed to the Illinois market generally via

local Chicago area television advertising and the internet. In particular, Bob’s commercials on

Bob’s website and YouTube are directed towards Illinois mattress consumers directly through

those websites and via internet search engines such as Google.

       47.     Bob’s commercials are trade practices that implicate consumer protection

concerns because the false and/or misleading statements in the commercials are likely to mislead

or confuse mattress consumers in Illinois.

       48.     As a result of these aforesaid acts, Bob’s has been and is engaged in deceptive

trade practices within the meaning of the Illinois Consumer Fraud and Deceptive Business

Practices Act, 815 ILCS 505/1 et seq., and the Illinois Uniform Deceptive Trade Practices Act,

815 ILCS 510/1 et seq.


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        49.      On information and belief, Bob’s has willfully engaged in the above describes

acts in Illinois and in this judicial district.

        50.      Because of Bob’s aforesaid acts, both Simmons and SSP have suffered actual

damage in its business such as lost sales and harm to Simmons’ and SSP’s reputation.


                                        PRAYER FOR RELIEF

             WHEREFORE, Simmons and SSP request that judgment be entered in its favor, and

prays that the Court grant the following relief:

        1.       A judgment that Bob’s engaged in false advertising under the Lanham Act,

15 U.S.C. § 1125(a)(1)(B)

        2.       A judgment that Bob’s engaged in deceptive trade practices under 815 ILCS

505/1 et seq. and 815 ILCS 510/1 et seq.

        3.       An order directing Bob’s to permanently remove the commercials described in

Paragraphs 16-28 from its website, YouTube, or any other website.

        4.       Permanent injunctive relief enjoining and restraining Bob’s, its subsidiaries,

affiliates, officers, directors, agents, servants, employees, owners, and representatives, and all

other persons or entities in active concert or participation with it, from claiming, directly or by

implication, in any advertising or promotional communication, that Bob’s mattresses and

Simmons’ mattresses have the same components or materials.

        5.       An order directing Bob’s to disseminate, in a form to be approved by this Court,

advertising designed to correct the false or misleading claims made by Bob’s in its advertising.

        6.       An order pursuant to 15 U.S.C. § 1116(a) directing Bob’s to file with the Court

and serve on Simmons, within 30 days after entry of the injunction, a report, in writing and under



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oath, setting forth in detail the manner and form in which Bob’s has complied with the

injunction.

        7.      An award of Simmons’ damage attributable to Bob’s false advertising and

deceptive trade practices, in an amount to be determined at trial.

        8.      A declaration that this is an “exceptional case” due to the willful nature of Bob’

false advertising, and an award of attorneys’ fees and costs to Simmons pursuant to 15 U.S.C. §

1117, 815 ILCS 505/10a, and 815 ILCS 510/3.

        9.      An award of all fees, costs, and expenses associated with this action; and

        10.     Such other and further relief as this Court deems just and proper.



                                DEMAND FOR A JURY TRIAL

        Plaintiffs Simmons and SSB hereby demand a trial by jury in this action on all claims and

issues triable before a jury.


 Dated this 19th day of September, 2017.           Respectfully submitted,



                                                   /s/ Nicole M. Murray
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